     Case:19-40901-EJC Doc#:68 Filed:10/18/19 Entered:10/18/19 10:21:28                                 Page:1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                          Southern District of Georgia

In re:                                                                           Case No.: 19−40901−EJC
Patrick D McCarthy
       Debtor                                                                    Judge: Edward J. Coleman III
                                                                                 Chapter: 7

                                              NOTICE OF DEFICIENCY
Wendy A. Owens via electronic noticing

The pleading or document, Chapter 7 Trustee's Application to Retain BK Global Real Estate Services and Penny
Rafferty Realty (doc. #67) , which you recently filed in the above captioned case is deficient for the reason(s)
indicated:

(     )     Fee not paid. Filing fee of $ due. Check must be payable to Clerk, U.S. Bankruptcy Court. Debtor checks
            are not accepted. Attorney filers shall pay electronically through Pay.gov.
(     )     Document unsigned or does not contain original or electronic signature.

(     )     Amendments must be verified by debtor(s).

(     )     The pdf image attached is incorrect. Please re−docket the pleading and attach the correct pdf image.

(     )     Service of process on an insured depository institution shall be made by certified mail addressed to an
            officer of the institution unless the institution has appeared by its attorney, in which case the attorney
            shall be served by first−class mail.
(     )     Amended Certificate of Service must be submitted.

(     )     Documents must comply with the Court's negative notice procedure. Notice of these procedures and
            copies of these forms are available on the Court's website at www.gasb.uscourts.gov.
(     )     Certificate of Service omitted or unsigned.

(     )     Your pleading or document was filed on an outdated form. Please re−file using the appropriate form.
            Current bankruptcy forms may be located on the U S Courts website,
            http://www.uscourts.gov/forms/bankruptcy−forms.
(     )     The affidavit for BK Global Real Estate says that Penny Rafferty is under oath and is signed by Patrick
            Butler. The affidavit also need to state the required information about BK Global Real Estate, not the
            individual realtor.
(     )     The Chapter 13 Plan does not include a certificate of service, or the certificate of service is deficient.
            Failure to file a certificate of service by the date indicated below will result in the setting of a hearing for
            the debtor to show cause why the plan should not be stricken from the record and the case dismissed. The
            show cause hearing will be at the same date and time as the scheduled hearing on confirmation.
(     )     The pleading or document will be held in abeyance. If the deficiency indicated above is not cured, on or
            before October 25, 2018 , the matter may be stricken, dismissed or denied.
                                                                              Lucinda Rauback, CLERK
                                                                              United States Bankruptcy Court
                                                                              125 Bull St, Rm 213
                                                                              P.O. Box 8347
                                                                              Savannah, GA 31412

Dated October 18, 2019
B−57[Rev. 09/18] HKB
